Case 1:22-cr-00015-APM Document 450 Filed 01/23/23 Page 1of6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : CRIMINAL NO. 22-er-15 (APM)
v.
(1) ROBERTO MINUTA,
(2) JOSEPH HACKETT,
(3) DAVID MOERSCHEL, and
(4) EDWARD VALLEJO
Defendants.

VERDICT FORM

Count One: Seditious Conspiracy
A. Verdict as to each defendant:
(1) Roberto Minuta
Guilty MK Not Guilty

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

X To use force to prevent, hinder, or delay the execution of any law of
the United States
Case 1:22-cr-00015-APM Document 450 Filed 01/23/23 Page 2 of6

(2) Joseph Hackett
Guilty Not Guilty

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

X To use force to prevent, hinder, or delay the execution of any law of
the United States
(3) David Moerschel

Guilty xX Not Guilty

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

? 7 To use force to prevent, hinder, or delay the execution of any law of
the United States
(4) Edward Vallejo
Guilty x Not Guilty

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

x To use force to prevent, hinder, or delay the execution of any law of
the United States
Case 1:22-cr-00015-APM Document 450 Filed 01/23/23

Page 3 of 6

Count Two: Conspiracy to Obstruct an Official Proceeding

A. Verdict as to each defendant:

(1) Roberto Minuta

Guilty Ke Not Guilty
(2) Joseph Hackett

Guilty K. Not Guilty
(3) David Moerschel

Guilty KX Not Guilty
(4) Edward Vallejo

Guilty % Not Guilty

Count Three:

Obstruction of an Official Proceeding
(1) Roberto Minuta

Guilty K, Not Guilty

(2) Joseph Hackett

Guilty xX Not Guilty

(3) David Moerschel

Guilty xX. Not Guilty

(4) Edward Vallejo

Guilty K Not Guilty

Case 1:22-cr-00015-APM Document 450 Filed 01/23/23 Page 4of6

Count Four: Conspiracy to Prevent Members of Congress from Discharging Their Duties

A. Verdict as to each defendant:
(1) Roberto Minuta

Guilty x Not Guilty

i. If guilty of the conspiracy charged in Count Four, which object(s) do
you unanimously find the defendant conspired to achieve:

xX To prevent a Member of Congress from discharging a duty as a
Member of Congress .

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed
(2) Joseph Hackett

Guy OS Not Guilty

i. If guilty of the conspiracy charged in Count Four, which object(s) do
you unanimously find the defendant conspired to achieve:

xX To prevent a Member of Congress from discharging a duty as a
Member of Congress

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed

(3) David Moerschel

Guilty X Not Guilty

i. If guilty of the conspiracy charged in Count Four, which object(s) do
you unanimously find the defendant conspired to achieve:

xX To prevent a Member of Congress from discharging a duty as a
Member of Congress

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed
Case 1:22-cr-00015-APM Document 450 Filed 01/23/23 Page5of6

(4) Edward Vallejo
Guilty x Not Guilty

i. If guilty of the conspiracy charged in Count Four, which object(s) do
you unanimously find the defendant conspired to achieve:

Xx To prevent a Member of Congress from discharging a duty as a
‘Member of Congress

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed

Count Five: Destruction of Government Property
(2) Joseph Hackett
Guilty Not Guilty xX
(3) David Moerschel

Guilty Not Guilty ~

Count Six: Tampering with Documents or Proceedings

(1) Roberto Minuta

Guilty Not Guilty

Count Seven: Tampering with Documents or Proceedings

(2) Joseph Hackett

Guilty X Not Guilty

Case 1:22-cr-00015-APM Document 450 Filed 01/23/23 Page 6of6

Count Eight: Tampering with Documents or Proceedings
(3) David Moerschel

Guilty Not Guilty xX

Date: January of, A , 2023
